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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DRESSER-RAND COMPANY, DRESSER-
RAND CANADA, INC., and DRESSER-RAND
GROUP, INC.,

                          Plaintiffs,                    No. 14-CIV-7222
                  v.
                                                         NOTICE OF APPEARANCE
INGERSOLL RAND COMPANY and
INGERSOLL RAND COMPANY LIMITED,

                          Defendants.


               PLEASE TAKE NOTICE that Lynn K. Neuner of the law firm of Simpson

Thacher & Bartlett LLP hereby appears as counsel for Defendants Ingersoll Rand Company and

Ingersoll Rand Company Limited in this action and requests that all subsequent papers be served

upon this firm at the address indicated below.

Dated:         September 24, 2014
               New York, New York
                                                   SIMPSON THACHER & BARTLETT LLP

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